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 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                        No. 1:12-cr-00184-DAD-BAM-2
12                      Plaintiff,
13          v.                                        ORDER FOR ADDITIONAL BRIEFING ON
                                                      DEFENDANT’S NOTICE OF APPEAL
14   DAVID ARREOLA,
                                                      (Doc. Nos. 156, 159, & 160)
15                      Defendants.
16

17          On August 3, 2015, Defendant filed an Ex Parte Motion for Appointment of Counsel to

18   assist him in preparing and filing a motion for reduction of sentence pursuant to 18 U.S.C. §

19   3582(c). (Doc. No. 153.) The Office of the Federal Defender filed notice with this court that it

20   did not recommend the appointment of counsel in this case for that purpose. (Doc. No. 154.) On

21   November 17, 2015, the previously assigned District Judge issued an order denying Defendant’s

22   motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2). (Doc. No. 156.) On December

23   8, 2015, Defendant filed a notice of appeal from the Court’s November 17, 2015 order. (Doc.

24   Nos. 159, 160.)

25          On December 9, 2015, the Ninth Circuit Court of Appeals issued an order in which it

26   noted that Defendant had filed his Notice of Appeal more than 14 days after entry of the order

27   denying his motion to reduce his sentence, but within 30 days after the expiration of the time to

28   file a notice of appeal. Because the notice of appeal was filed more than 14 days after entry of the
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 1   order, it was not timely under Federal Rule of Appellate Procedure 4(b)(1)(A). The Ninth

 2   Circuit, therefore, remanded this matter to the district court:

 3                  for the limited purpose of permitting the district court to provide
                    appellant notice and an opportunity to request that the time for
 4                  filing the notice of appeal be extended, for a period not to exceed
                    30 days from the expiration of the time prescribed by Rule 4(b),
 5                  upon a finding of excusable neglect or good cause.
 6                                              DISCUSSION

 7          “In a criminal case, the district court has discretion under [Federal Rule of Appellate

 8   Procedure] 4(b) to grant an extension of time [for filing a notice of appeal] upon finding

 9   ‘excusable neglect.’” United States v. Prairie Pharmacy, Inc., 921 F.2d 211, 212 (9th Cir. 1990).

10   Federal Rule of Appellate Procedure 4(b)(4) provides:

11                  Upon a finding of excusable neglect or good cause, the district
                    court may - before or after the time has expired, with or without
12                  motion and notice - extend the time to file a notice of appeal for a
                    period not to exceed 30 days from the expiration of the time
13                  otherwise prescribed by this Rule 4(b).
14          In cases such as this one in which a prisoner seeks to appeal pro se, the Supreme Court

15   and Ninth Circuit have held “a notice of appeal filed by an incarcerated prisoner, after the time

16   for filing a notice of appeal had run, [is] timely if the appellant ‘did all he could do under the

17   circumstances’ to file his appeal within [the proscribed deadline].” Prairie Pharmacy, 921 F.2d

18   at 213 (quoting Fallen v. United States, 378 U.S. 139, 144 (1964), and citing United States v.

19   Houser, 804 F.2d 565 (9th Cir. 1986)).

20          In Houser, trial counsel promised the incarcerated defendant that he would represent
21   defendant in filing a notice of appeal, but counsel failed to do so. 804 F.2d at 569. When the

22   defendant was informed his trial counsel had not filed a notice of appeal, the defendant filed a

23   motion for leave to file a late notice pro se. Id. The Ninth Circuit in Houser concluded that the

24   defendant did all he could do to file a timely appeal under the circumstances, and, therefore, the

25   court found excusable neglect. Id.; see also Houston v. Lack, 487 U.S. 266, 270 (1988) (Court

26   granted extension to pro se prisoner who delivered a timely notice of appeal to prison authorities
27   even though the notice was not received by the Court until after the time limit); Hostler v.

28   Groves, 912 F.2d 1158, 1161 (9th Cir. 1990) (applying Houston “to notices of appeal filed in
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 1   non-habeas civil cases by incarcerated prisoners acting pro se.”); United States v. Giddings, 740

 2   F.2d 770, 771 (9th Cir. 1984) (Court concluded that a federal inmate who mailed his notice of

 3   appeal four days after he received the sentencing order “did all that reasonably could be

 4   expected.”).

 5            This Court, therefore, directs Defendant to advise the Court in writing no later than

 6   December 24, 2015, whether he requests the Court to extend the time for filing his Notice of

 7   Appeal and, if so, to provide the Court with an explanation for his failure to file his Notice of

 8   Appeal within the 14 days of the filing of the order which is the subject of the appeal as required

 9   by Federal Rule of Appellate Procedure 4(b)(1)(A). If Defendant does not establish excusable

10   neglect or good cause, there will not be any basis for this Court to consider whether to extend the

11   time for him to file a notice of appeal in this action. Since this Court is operating under a

12   deadline if it chooses to grant an extension under Federal Rule of Civil Procedure 4(b)(4), no

13   extensions of time will be granted to respond to this order.

14                                                 ORDER

15            For the reasons set forth above, the Court directs Defendant to advise the Court in writing

16   no later than December 24, 2015, whether he requests the Court to extend the time for filing his

17   Notice of Appeal and, if so, to provide the Court with an explanation for his failure to file a notice

18   of appeal within the fourteen (14) days required by Federal Rule of Appellate Procedure

19   4(b)(1)(A).

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     IT IS SO ORDERED.
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23   Dated:     December 10, 2015
                                                            DALE A. DROZD
24                                                          UNITED STATES DISTRICT JUDGE
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